542 U.S. 956
    UNITED STATESv.FANFAN.
    No. 04-105.
    Supreme Court of United States.
    August 2, 2004.
    
      1
      C. A. 1st Cir. Motion of the Acting Solicitor General for leave to file a reply brief in excess of the page limits granted. Certiorari in No. 04-104 granted. Certiorari before judgment in No. 04-105 granted. Cases consolidated, and a total of two hours allotted for oral argument. Brief of petitioner is to be filed with the Clerk and served upon opposing counsel on or before 3 p.m., Wednesday, September 1, 2004. Briefs of respondents are to be filed with the Clerk and served upon opposing counsel on or before 3 p.m., Tuesday, September 21, 2004. A reply brief, if any, is to be filed with the Clerk and served upon opposing counsel on or before 3 p.m., Monday, September 27, 2004. Oral argument set for Monday, October 4, 2004. Reported below: No. 04-104, 375 F. 3d 508.
    
    